               Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 1 of 21


AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the
                                                    Western District of New York


                          United States of America

                                           v.                                       Case No. 21-mj-1158

                         RICHARD W. SCHERER

                                        Defendant


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the dates listed, in the Western District of New York, the defendant, RICHARD W. SCHERER:
         (1) From on or about April 9, 2021, to on or about June 28, 2021, using the mail and any facility and means
             of interstate and foreign commerce, did knowingly attempt to persuade, induce, entice and coerce an
             individual who has not attained the age of 18 years to engage in sexual activity for which any person can
             be charged with a criminal offense; and
         (2) On or about June 28, 2021, did knowingly possess material that contained images of child pornography,
             as defined in Title 18, United States Code, Section 2256(8), that had been mailed, shipped and transported
             in and affecting interstate and foreign commerce by any means, including by computer, and that were
             produced using materials that had been mailed, shipped and transported in and affecting interstate and
             foreign commerce by any means, including by computer;

         all in violation of Title 18, United States Code, Sections 2422(b) and 2252A(a)(S)(B).

         This Criminal Complaint is based on these facts:

         181 Continued on the attached sheet.
                                                                                    Complainant's signature

                                                                    Randall E. Garver. Special Agent. FBI
                                                                                    Printed name and title

Sworn to before me and signed telephonically.

Date: July 28. 2021
                                                                                    Judge's signature

City and State: Buffalo. New York                                   HON. JEREMIAH J. MCCARTHY. USMJ
                                                                               Printed name and title
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 2 of 21




               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


       I, Randall E. Garver, being duly sworn, depose and say:


       1.       I am a Special Agent of the Federal Bureau of Investigation and entered on

duty in May 2006. I am currently assigned to the Buffalo Field Office and work on cases

associated with the Violent Crimes Against Children program, which targets individuals

involved in the online sexual exploitation of children. As part of these duties, I have become

involved in the investigation of suspected violations of Title 18, United States Code, Sections

2251, 2252, 2252A, 2422, 2423, and 2261. I have also participated in various FBI mandated

and volunteer training for the investigation and enforcement of federal child pornography

laws, Sexual Enticement, Travel to Engage in Illicit Sexual Conduct, and Cyberstalking laws

in which computers or smartphones/devices are used for engaging in such violations of

Federal law.



       2.       I make this affidavit in support of a criminal complaint charging RICHARD

W. SCHERER (“SCHERER”), with enticement of a minor and possession of child

pornography, in violation of Title 18, United States Code, Sections 2422(b) and

2252A(a)(5)(B).



       3.       The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers in this

investigation, and upon my training and experience as a Task Force Officer of the Buffalo
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 3 of 21




FBI. Because this affidavit is being submitted for the limited purpose of seeking a criminal

complaint, I have not included each and every fact known to me concerning this investigation.

I have set forth only the facts necessary to establish probable cause to believe that SCHERER

knowingly violated Title 18, United States Code, Sections 2422(b) and 2252A(a)(5)(B).



       4.       The investigation to date has shown that there is probable cause to believe that

SCHERER used his Instagram account, richard__scherer, to engage in a sexual conversation

with a purported 13-year-old girl wherein SCHERER engaged in a sexual conversation that

culminated in SCHERER arriving to meet the purported minor girl. A subsequent search of

SCHERER‘s phone yielded images of minors engaged in sexually explicit conduct.



       5.       On June 28, 2021, the FBI’s Child Exploitation Task Force initiated this

investigation after Buffalo Police Department (BPD) requested assistance. My colleague and

I met BPD Special Victims Unit (SVU) Detective John Caruso at BPD Headquarter, 68 Court

Street, Buffalo. Detective Caruso told us that a Texas-based citizens group, Predator Poacher,

engaged in undercover chats as a purported minor individual with an adult identified as

RICHARD SCHERER (“SCHERER”), who has a date of birth in 1950. The undercover

chats led to SCHERER arriving at the Wegman’s on Amherst Street in Buffalo to meet the

purported minor. Once SCHERER arrived at Wegman’s, the Predator Poacher group

confronted him and recorded their interview with SCHERER. Eventually a citizens group

member called 9-1-1 and BPD responded. SCHERER was detained and transported to the

SVU office for questioning. My colleague and I interviewed members of the citizens group




                                                2
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 4 of 21




and SCHERER. The subsequent paragraphs detail the FBI interviews and follow-on chat

messages discovered.



       6.       On June 28, 2021, my colleague, TFO Michael Hockwater, and I interviewed

Alex Rosen, a resident of Houston, Texas who is a member of the citizens group, Predator

Poacher, at BPD/SVU. Rosen discussed his group and said they maintain a website and

YouTube channel, both of which generates revenue for the group. The group maintains

several online accounts that purport to be minors of various ages. They use the accounts to

chat with adults who later meet for sexual contact.       These contacts are recorded, the

individuals interviewed, and the videos then posted to the group's platforms. Rosen advised

they typically use Instagram to search hashtags to find groups associated with images such as

“teen photo” or “youth gymnastics.” The group then sends requests (from the purported

minor accounts) to multiple users and then begins communicating via direct message with

several of those accounts. When asked about sending images, Rosen said the group uses a

19-year-old girl to send him face pictures that he modifies using FaceApp to make the images

look like they are of a girl much younger. Rosen said a teammate, Nicholi Rosen-Crans, a

25-year-old resident of San Diego, CA, conducted most of the conversations with SCHERER,

who used Instagram account richard__scherer.          Rosen-Crans, and Rosen, used an

Undercover Instagram account (“UC Account”) to communicate.                     Rosen only

communicated over the account on June 28, 2021. Rosen told us that sometime in early April

(a review showed April 9, 2021), UC Account began communicating with SCHERER, who

used Instagram account richard__scherer. Rosen said that SCHERER believed UC Account




                                             3
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 5 of 21




to be a 13-year-old girl and asked if the girl masturbates. SCHERER asked the purported

minor if she sexually touches her siblings or cousin as well. SCHERER offered to teach the

purported minor to masturbate. The communications culminated with a planned meeting at

Wegman’s on Amherst Street in Buffalo, which SCHERER arrived at. The group confronted

SCHERER outside the store and interviewed him for about 58 minutes outside, where he

admitted he is a pedophile. During the interview, SCHERER said he received nude images

from four minor girls. After the interview, Jesus Vaquera, a member of the citizens group,

called 9-1-1 to alert BPD. Rosen said SCHERER also communicated with a purported eight-

year-old girl who used a different Instagram account (“UC Account 2”). The chats were also

sexual in nature but SCHERER electronically retracted multiple statements, including many

of a sexual nature. At the conclusion of the interview, Rosen consented to law enforcement

searching Instagram accounts UC Account and UC Account 2. Rosen said neither he, nor

any other group member, modified any of their messages, other than his retracting a “hey” in

the presence of my colleague and I to demonstrate how a user can retract a text. These two

subject accounts were later accessed by TFO Eric M. Schmidt. Rosen also said a different

Instagram user, claiming to be a 16-year-old female, contacted UC Account to inform UC

Account that SCHERER also communicated sexually with her.



       7.       Following the interview with Rosen, TFO Hockwater and I were escorted to a

separate interview room where SCHERER was waiting. At that time, we conducted an

audio/video recorded interview of SCHERER.            After SCHERER agreed to waive his

custodial rights, he told us that he is a retired schoolteacher who taught about Native Alaskans




                                               4
         Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 6 of 21




for about eight years in the late 1970s until the mid-1980s. SCHERER then taught new

immigrant children in a mixed (3rd – 6th grade) classroom for Montgomery County

(Maryland) Public Schools for about 25 years. SCHERER said he used Instagram account

richard__scherer to communicate with a 13-year-old girl named “Hannah,” who used

Instagram account UC Account. SCHERER recalled that about four to six weeks prior,

“Hannah” sent him a follow request and they began communicating. “Hannah” asked

SCHERER if he could help her learn to masturbate and supported her as she told SCHERER

that it was embarrassing. SCHERER said that about a week prior, he un-followed “Hannah”

but re-followed her after several of her friends (also members of the citizens group) told him

how hurt and lonely she was that he un-followed her. SCHERER ultimately decided to meet

“Hannah” at the Wegman’s on Amherst Street because he felt she would be hurt if he did not

arrive. SCHERER told us that he arrived at the meeting to tell “Hannah” that he did not feel

it was right to continue communicating with her and lying to his wife. SCHERER said he

asked “Hannah” for pictures of breasts, discussed digitally penetrating the girl, and discussed

possibly teaching her to have sexual intercourse. SCHERER said he used Instagram for a

few years and occasionally uses it to chat with minor girls. SCHERER said he chatted

sexually with about six minor girls and received nude images of breasts from two girls who

were about the age of 15. SCHERER recalled communicating with “Nina” who he wrote

because her account was following a girl SCHERER communicated with named “Maddy.”

SCHERER recalled that sometimes the minor brought up sexual topics, such as masturbating

with a hairbrush. SCHERER masturbates while later thinking about these conversations with

minors, though not while chatting with them. SCHERER insisted he has never met in person




                                              5
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 7 of 21




any minor with whom he has communicated with sexually online. Following the interview,

SCHERER agreed to allow the FBI to search his phone and Instagram account.



       8.       As discussed above, law enforcement accessed SCHERER’s communications

with the purported 13-year-old girl. The below information details my review of SCHERER’s

conversation with UC Account. On April 9, 2021, SCHERER wrote UC Account, “hope

you have a wonderful weekend” and then mentioned he was a teacher. UC Account replied,

“Oh u could have been my teacher! I’m 13! What did you teach??” On May 9, 2021, UC

Account sent a picture, purported to be of herself wearing sunglasses. SCHERER replied,

“you are so beautiful, thank you for the photo. Cool glasses.” On May 11, 2021, SCHERER

said, “you are so sweet, nice and cute.” UC Account then sent another picture of the

purported girl’s face, and SCHERER replied, “gorgeous/thank you.” When UC Account

said she was laying down after a shower, SCHERER replied, “…you probably look cuter than

ever.” On May 14, 2021, SCHERER wrote that the girl was “beautiful and friendly” and

stated, “you’re beautiful sweetie/you are a wonderful person.” SCHERER stated that he was

“looking at stuff on my computer” and when asked what he was looking at, SCHERER

wrote, “right now football and news. At night I look at naughty stuff.” UC Account wrote,

“lol do u mean porn?” and SCHERER wrote, “well maybe.” UC Account wrote that

classmates talked about pornography and it seemed awkward. SCHERER replied, “well yes

it would be talking about it with boys in school. It would be.”




                                              6
            Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 8 of 21




       9.       On June 1, 2021, the conversation continued with SCHERER writing that he

was up late, “talking to a girl on IG [Instagram]”. SCHERER wrote UC Account, “…And I

love talking with you/you are my favorite IG friend.” SCHERER wrote that he and the other

girl were discussing the first time the girl had sex. UC Account asked if sex hurt the first time

and SCHERER replied, “it depends on the guy…if he takes his time and kisses the girl a lot

and touches every place it won’t hurt/I taught sex ed for 25 years so you can ask me anything

and I will tell you/let me know if you have any questions.” UC Account wrote that a friend

of her had sexual intercourse with a 16-year-old boy, and SCHERER replied, “with boys that

age they really want to do it fast and will put it in the girl before she is ready. That’s why it

hurts.” SCHERER continued, “don’t be embarrassed it’s OK…have you ever rubbed yourself

so it feels good.” UC Account replied she “kind of did one time” and SCHERER stated,

“that’s OK it’s really normal and most of your friends have I’m sure 1 (sic) did it feel good”.

UC Account stated she may have done something wrong and SCHERER asked, “did your

vagina get wet”. SCHERER then told UC Account, “A lot of girls your age will do it with

their best friend at a sleep over.” UC Account replied she did not have friends to have

sleepovers with and SCHERER told her, “you should lay on your back and put 1 hand inside

your panties/and with a finger rub around your vagina and you will find places where it feels

good.” SCHERER continued, “find the good place and just let it feel good/keep rubbing it

and feel how good it is.” UC Account stated, “I think I keep psyching myself out/im

embarrassed.” SCHERER wrote, “you really need someone else to do it so you don’t have

to think. Just enjoy it/It is always more exciting when someone else does. Can you think of

someone?/How old is your sister? Lots of sisters do it to each other with their fingers.” After




                                               7
         Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 9 of 21




mentioning UC Account’s sister was 9 years old, SCHERER wrote, “so your sister is old

enough to enjoy it..you can take turns rubbing each other at first and then using fingers/many

girls start doing it at 8! You guys don’t see each other in your underwear?” UC Account stated

that she has seen her sister naked and SCHERER replied, “well actually you can stay under

the covers if you are embarrassed and do it that way. From what I can see in the photos you

have a wonderful body.” When UC Account suggested her sister may get mad at her,

SCHERER answered, “maybe you are just going to have to try getting used to doing it

yourself. I’m sure you can/I think you can do it! Again think about how it feels.” SCHERER

then wrote that he had sexual contact with his sister in his early teenaged years. SCHERER

next asked, “at your old school did you ever have a chance to play with anyone”. Next

SCHERER suggested to UC Account that she would best trying to lose her virginity to an

“older guy”: “a guy your age is usually really interested in just doing it as soon as possible.

An older guy will spend time getting you very excited..kissing and touching you all over so

you will be ready and it won’t hurt or just a little/I hope it goes well tonight when you try it

again,” referring to the girl masturbating. SCHERER then recommended that UC Account

find an 18- or 19-year-old man to have intercourse with and she asked what the person should

be younger than SCHERER. SCHERER replied, “Oh well younger than me because at 70

I’m not in the same shape I was at 20. You wouldn’t think my body was very exciting. I would

love to be the guy to teach you about making love and sex. I think you are beautiful and I

would love to see your body so much. But it wouldn’t be fair to you.” SCHERER then asked

if he could see UC Account in a bikini and, from the conversation, it appears a photo was

sent, but not recovered by the FBI. SCHERER then wrote, “I’m glad your going to try. It




                                               8
          Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 10 of 21




takes practice,” referring to masturbation; he continued, “My favor is for you to take another

photo in the bikini but without the top. I know it’s a big favor but I know you will look

incredible. I will not show or tell anyone.” SCHERER mentioned that it is a big favor but he

may not have someone like UC Account to ask again in the future; SCHERER stressed that

he only wanted UC Account to send the picture if she was comfortable. UC Account replied

that no one has ever seen her breasts. On June 2, 2021, the conversation continued with

SCHERER telling UC Account that he, “would be honored to be the first person you let see

them.”



         10.   On June 5, 2021, SCHERER asked UC Account, “have you been able to rub

yourself or are you still having trouble.” UC Account wrote that she had not and SCHERER

replied, “I suggest doing it just a little bit, a minute or so and stop/when you can rub with out

being embarrassed it would bake may 10 or 15 minutes of rubbing before you cum.” On June

6, 2021, UC Account asked SCHERER for his phone number and he provided his true

number and again asked if UC Account tried “rubbing” the night before.” On June 8, 2021,

SCHERER asked UC Account if she was comfortable with him reminding UC Account to

keep “rubbing” herself at night. UC Account said she was comfortable with it and SCHERER

asked, “have you been able to put your finger inside”? On June 9, 2021, UC Account replied

she had not tried the digital penetration yet and SCHERER wrote, “it feels ever better. You

just have to be wet first.”




                                               9
         Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 11 of 21




       11.     Between June 23-25, 2021, UC Account wrote several messages that appear to

have had SCHERER’s portion of the conversation deleted. UC Account wrote: “I have still

tried it a couple times/Idk. I still feel like I just don’t know it is supposed to feel…oh ok. I

think I did it right one time.” On June 24, UC Account wrote, “I did. I tried what u said/Still

weird I think..I just get too embarrassed/I wish too cuz I feel like I should get it and don’t. I

feel stupid lol/Idk I don’t have any guy I think is hot tho! Lol. But ok..do u think it would be

better?” On June 25, UC Account wrote, “I tried, I stopped now cuz idk, I still just feel weird

doing it to myself lol.” The texts continue in this manner with UC Account discussing her

sexually active friends and what appears to be SCHERER, “me too. I feel like it would be less

embarrassing cuz I trust u/I trust u! Plus u know what ur doing and I don’t/ur tongue? Won’t

that taste gross tho?”



       12.     Later on June 25, 2021, SCHERER wrote, “Hannah I’m so sorry. A man told

me you would call the police and they would be waiting for me if I went to your house. Nina

told me that’s a lie he has been mean to you. I hope we can be friends and follow each other

again. I hope you can forgive me.” UC Account wrote, “he sent me pictures of his privates

and told me if I didn’t send them he would tell my mom I was doing bad things. I just am not

doing bad things so he flipped out. He hit up a lot of my friends and told them I’m a liar and

fake and now people won’t talk to me cuz I wouldn’t respond to his penis.” UC Account

wrote, Please don’t leave too..I don’t have a lot of people here and now I have even less and

I didn’t’ give u my address to show up to…I love u boo…”; SCHERER replied, “I love you

too and I want to be your friend and talk with you and anything else you want to do/do you




                                               10
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 12 of 21




accept my friend request”. SCHERER asked, “do you want me to teach you how to

masturbate?” and UC Account replied, “I thought u were teaching me still.” SCHERER

wrote, “I was going to do it with my finger so you would know how/do you still want me to

do that/and where”? UC Account asked, “under my underwear” and SCHERER replied,

“No, I would take your underwear off. I mean what place can we do it/I am really looking

forward to teaching you. It will be so nice.” UC Account suggested meeting at a Starbucks

before going to her house for sexual contact. SCHERER asked, “and you are really ready to

try”, which UC Account replied she was nervous about it, “but I trust u and u taught it before

so u know a lot too.” SCHERER stated, “I understand that you will be nervous so anytime

you want to stop you say so and I will. And I won’t be angry or upset/Would you like me to

undress you or do you want to undress and I watch”?



       13.    On June 26, 2021, SCHERER asked UC Account, “do you have hair on your

pussy?” Then SCHERER wrote, I know you don’t want to send me a nude photo but how

about one in your bra and panties.” UC Account sent a photograph that was not visible in

the chat log; based on the context it appears to be a picture in swim attire. SCHERER later

wrote that the picture made him “hard” and added, “sometimes at night when I’m laying in

bed I think of you and undressing you and touching you all over. It’s so exciting.” UC

Account asked if she was supposed to take her shirt off when they meet, and SCHERER

wrote that he would like that along with “you will find it’s very, very exciting to be fingered

in your pussy and having your breast and nipple played with at the same time. It will make

you cum hard.” When asked if one loses her virginity from digital penetration, SCHERER




                                              11
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 13 of 21




replied, “No, you would still be a virgin until you have a dick in you.” SCHERER asked,

“…do you know what to cum means?/You should ask your cousin what it [an orgasm] feels

like next time you sleep over. Just please don’t tell her about me.” SCHERER then asked UC

Account about her sexual experience and relayed a story about a sexual experience from high

school. The chat log showed that SCHERER made two attempts to video chat UC Account

but she replied that her mom’s boyfriend was present.



       14.    On June 27, 2021, UC Account wrote, “we should hang out sometime,” to

which SCHERER replied, “Yes! What is your address?/I will look for places nearby.” UC

Account suggested meeting at a Wegman’s. The two then discussed plans for the day with

SCHERER advising he had plans to visit with family and stating it would be hard for him to

leave at night without a good explanation since he was married; he added, “during the day

would be much easier.” The two agreed to meet at the Wegman’s on Amherst Street in

Buffalo and SCHERER sent a picture of himself, stating, “…maybe you will think I’m too

old and fat.” SCHERER again stated he could not meet that evening and wrote, “…but don’t

worry, let’s meet first. If you feel comfortable we could drive out to the country, find a very

secluded spot and play in the car/send me a photo of you, how you are dressed now.” UC

Account sent a face picture and asked for SCHERER’s address, which he replied to by giving

his true home address. UC Account wrote, “Ok boo. Have fun. I love you!” to which

SCHERER replied, “Love you too and look forward to being with you and teaching you

exciting things.” SCHERER agreed with UC Account that he would be “nice and gentle.”

The pair next agreed to meet the following day, June 28, 2021, at Wegman’s, and agreed to




                                              12
         Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 14 of 21




text each other when they arrive at the grocery store. Later in the evening, SCHERER

suggested UC Account and her cousin should “play…with each other” the next time they

were together. SCHERER wrote that another girl he texts with said she had sex with another

girl the previous night while having a slumber party. SCHERER then asked UC Account

“have you ever played with a guy’s dick?/I won’t ask you to…for awhile/but I thought when

we 1st get together to play I was going to finger you/we will start slow. The 1st time I will

kiss your neck, play with your breasts and nipples, and finger you and make you have an

orgasm.” SCHERER continued by saying the first time they meet they will just talk but “wear

shorts please.”



       15.     On June 28, 2021, SCHERER wrote UC Account and advised he could not

stay for a long visit and was looking forward to seeing her and talking. SCHERER advised

he would wear a black polo shirt and to call him “grandpa” when she sees him. The final

text from SCHERER was “I’m here”.



       16.     As discussed above, SCHERER communicated with Instagram account UC

Account 2, a purported eight-year-old girl; the account was also controlled by the citizen’s

group. On April 7, 2021, SCHERER asked, “I am from Buffalo, NY in the USA. Where are

you?” UC Account 2 replied, “Me too!/Im 8 and u”. On May 9, 2021, SCHERER wrote,

“I’m just amazed you are 8. It feels like I’m talking to an adult/I think you are very intelligent

and mature.” He continued the conversation, “And the kids in 6th to 8th grade are going

through puberty and distracted.” On May 10, 2021, UC Account 2 wrote, “…when I’m at




                                               13
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 15 of 21




dad’s I get to do pretty much whatever I want while he’s a work,” to which SCHERER

replied, “oh fun, do you behave yourselves/or are you naughty.” When UC Account 2 wrote

that she and her friend have been naughty at times, SCHERER asked, “what do you do that’s

naughty”. What follows is a series of texts from UC Account 2 that, in my opinion, are the

replies to texts that SCHERER retracted from the conversation:

             a.       “how come lol is it bad/what’s that/oh wow how come they do that/I
                      never did that/do you have to be old to do it/what will that do?/do you
                      do that too?/It’s be easier if somebody showed me probably. I’ll feel weird
                      doing it/do I keep my pjs on/wow I didn’t know I could do that.”
             b.       On May 11, 2021, the same conversation continued: “I’ll probably try
                      again. I just got nervous lol/well I put it under my pants but over my
                      panties/it tickled/I was just afraid someone would catch me/ok do I
                      make a fist or what?/where exactly is my vagina and how will I know
                      when I feel it?/so the tickling bit where I pee. Go further. Got it/Ok I’ll
                      try it.”
             c.       On May 12, 2021, UC Account 2 wrote, “It felt nice/Hmmm not right
                      now/but I was wondering if boys do that too/really big?/so is that what
                      you want to do with me/I want whatever you want lol.”
             d.       On May 13, 2021, UC Account 2 wrote, “Do girls do this to each other
                      to feel good/well I do now and I’m going to teach all my friends/But
                      don’t worry. I won’t tell them about u/my cousin is coming to stay next
                      weekend. He’s my age and usually sleeps on the floor in my room/will it
                      fit inside me?/you’re not too old for me/have you done stuff with a girl
                      my age before.”


      17.         As discussed above, when interviewed at BPD, SCHERER consented to law

enforcement seizing his Samsung model SM-G986U cellular phone, which was manufactured

outside New York State. On June 29, 2021, I located two images that I believe meet the

definition of child pornography. The two photos are further described below:

            a. Photo 1; Filename: 400123400476_27253.jpg; Viewed date: 03/08/2021 @
               9:01 PM; Description: A minor female under the age of 10 naked from the waist
               down with an adult male penis inserted in her vagina.




                                                14
           Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 16 of 21




             b. Photo 2; Filename: 400177100104_14439.jpg; Viewed date: 02/28/2021;
                Description: A minor female under the age of 10 lying face down while an adult
                male is straddling her from behind with his penis inserted into her vagina.


       18.      A further examination of the file path for both photos indicates that they were

obtained through the Telegram cell phone application, which is a cloud-based messenger

application that allows a user to seamlessly sync email, chat, and text messages on multiple

devices.



       19.      On July 1, 2021, I manually searched SCHERER’s phone and found a June

21, 2021, Telegram conversation with a user named “ivanica.” SCHERER replied to a

greeting, “we are doing very well and love being grandparents.” “ivanica” sent a picture of a

woman standing next to a girl who was approximately 10 years old with the text, “kisses from

us.” SCHERER replied, “Thank you, I’ve missed you guys. She is getting so big and

beautiful.” “ivanica” wrote back, “oh yes, she is getting mature in every way/she is 8 but

everyone say she looks 10.” SCHERER replied, “That’s what I thought…10.” “ivanica”

stated “maybe because she is already active and her body is mature faster,” to which

SCHERER replied, “sure that makes sense. Is she still enjoying sex”? “ivanica” answered

that the girl was and added, “she even tried with boy almost her age but did not like it that

much..she say he was shy and did not know what to do/I guess its hard for her to get use to

boys after being with older men.” SCHERER wrote back, “yp, and guys her age are pretty

clueless and have tiny dicks lol.” “ivanica” wrote back, “hihi yes she said that too..that boy

her age had a very small and my Pedja has older big cock,” before sending a picture of the

same girl, clothed, sitting on a window sill. SCHERER responded to the picture, “oh so


                                               15
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 17 of 21




beautiful,” to which “ivanica” replied, “pedja love to fuck her in every possible way.”

SCHERER answered, “nice…any photos of that. Would like to see her older body.”

“ivanica” sent a photo of a prepubescent girl’s vagina, in my opinion approximately age 10,

covered in semen with an adult’s erect penis just outside the vagina. SCHERER reacted to

the image, “oh so hot and wet and more developed/thank you.” “ivanica” answered, “he

love to fuck her tiny bald pussy/but he also love her mouth.” SCHERER asked, “do lots of

guys still come to see her,” and after being told men come over so the girl can model for them,

he wrote, “she loves that. Have her breasts started yet.” “ivanica” stated, “no, she is still

flat/but they like her anyway.” SCHERER wrote, “cut little nipples.” “ivanica” sent a

picture of the same girl, wearing tight shorts, facing away from the camera with her arms

spread open and added, “they love her little ass also.” SCHERER stated it was “so cute and

round.” “ivanica” answered, “one of Pedja friend told me I have a beautiful daughter and

that she is a natural fuck girl,” to which SCHERER replied, “she does enjoy it.” “ivanica”

next wrote, “she told me that older men know much more about sex than boy her age,” and

SCHERER agreed, “for sure.” “ivanica” then wrote, “she loves that she get all that attention

from older men/and that they love to push cocks into her.” SCHERER replied, “yesss, I

have to go to dinner now. Great talking with you again and love her photos. Share more it’s

OK.”



       20.    On July 20, 2021, pursuant to a Grand Jury subpoena issued in the Western

District of New York, Montgomery County (Maryland) Public Schools (MCPS) provided




                                              16
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 18 of 21




records relating to SCHERER’s employment. The subsequent paragraphs were developed

from my review of the records.



       21.    During my review, I found an August 22, 2011, memorandum authored by an

MCPS Investigation Specialist that was sent to one of MCPS’s Associate Superintendents.

The memo was a summary, with attachments, of the MCPS investigation. The report stated,

“On June 13, 2011, the parent of a 4th grade student, [redacted by MCPS], came to the school

and made a report to an assistant principal about some concerns she had regarding possible

inappropriate behavior by Mr. Scherer while interacting with students.” The report stated

that the student related that when SCHERER has lunch with a particular student, “he pulls

her to him and hugs her, that he has patted her rear end and hips, and that he pressures her

to each lunch with him.” The parent advised that her daughter and the daughter’s friend are

often pressured to each lunch with SCHERER.



       22.    The same report continued by stating that the school principal told the MCPS

investigator that spoke to the friend (the other student) who told the principal that SCHERER

hugs her and touches her thigh. SCHERER remarked “your boobs are growing” to the

middle school aged older sister of the same student. The girl told the principal she heard

SCHERER tell the same middle school aged sister, “I love you” and kissed the older sister’s

hand. The report stated that SCHERER texts with this student’s older sister and messaged

the older sister on Facebook to have her friend “wear a tank top so that he can see how much

her boobs have grown.” SCHERER asked one of the middle school aged girls if she got her

period yet. The student told the principal that her middle school aged sister once took her


                                             17
         Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 19 of 21




sweater off in SCHERER’s classroom before putting it back on when she felt uncomfortable;

“Mr. Scherer told her in a strict way to take it off.”



       23.     The same report continued with the principal learning that SCHERER also

took both middle school girls to the Cheesecake Factory and exchanged text and Facebook

messages. The report then stated that on June 14, 2011, the MCPS ordered the investigation

and on June 15, 2011, the District placed SCHERER on administrative leave. The document

then discussed how MCPS substantiated the information detailed herein, including trips with

the students to restaurants, movies, and miniature golf. The document also substantiated that

SCHERER rubbed the girls’ backs to see if they were wearing a bra, touched the girls’ thighs,

commented on their breasts and periods, and asked the girls if they loved him. The report

stated that on August 18, 2011, SCHERER received certain details of the MCPS investigation

and that he submitted his retirement on September 1, 2011. One of the report’s addendums

was a statement written by one of the students: that stated, “me and [redacted by MCPS] are

scard (sic) at this point for the hugging, the hitting her the pulling us so we had to tell someone

about this before this gets out of hand.”



       24.     During my review, I located a September 7, 2011 letter from the Superintendent

of MCPS to the State of Maryland Superintendent of Schools. The letter stated, “this is to

notify you that Mr. Richard W. Scherer, an English for Speakers of Other Languages (ESOL)

teacher for Montgomery County Public Schools (MCPS), resigned after notice of allegations

of misconduct involving a student. I recommend that Mr. Scherer’s certificate be revoked.”




                                                18
        Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 20 of 21




The letter continued, “Mr. Scherer resigned after notice of allegations of inappropriate

behavior involving current MCPS students. The investigation conducted by the MCPS Office

of Human Resources and Development revealed that Mr. Scherer communicated with the

student via text messages that were highly inappropriate.”



       25.    When reviewing the records, I located a September 29, 2011, letter addressed

to SCHERER from Maryland’s then-interim State Superintendent of Schools. The letter

stated, “I am acting positively on the request of Montgomery County Public Schools…to

revoke your teaching certificate for: ‘is dismissed or resigns after notice of allegation of

misconduct involving a student in any school system or any minor, or allegation of

misconduct involving any cause for suspension or revocation of a certificate provided in this

regulation.” The letter concluded, “effective on the date of this letter, the Maryland Teaching

Certificate issued to you under the authority of this Department is hereby revoked.



       26.    On July 16, 2021, the FBI obtained a search warrant for Instagram account

richard_scherer [richard(one underscore)scherer].      On July 19, 2021, Instagram made

available the contents of that particular account. When I reviewed the account, I realized that

the account was not one used by SCHERER. On July 21, 2021, the FBI obtained a warrant

authorizing    the   search    of   Instagram      account   richard__scherer     [richard(two

underscores)scherer]. The search warrant results have not yet been made available. However,

a review of information obtained from Instagram pursuant to an administrative subpoena

regarding account richard__scherer show it was created on May 1, 2014 and associated with

SCHERER’s known cellular telephone number.


                                              19
Case 1:21-mj-01158-JJM Document 1 Filed 07/28/21 Page 21 of 21
